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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                             WESTERN DIVISION

 GARRY STEWART, M.D.                                                       PLAINTIFF

 v.                        CASE NO. 4:17-CV-00338-BSM

 ADVANCED MEDICAL REVIEWS, INC.; J.D.
 HAINES, M.D.; GARY GRAMM, D.O.; DAVID
 CHEN, M.D.; ANNA BELMAN, M.D.; and
 JENNIFER CROWLEY, R.N.                                                DEFENDANTS

               DEFENDANTS’ MOTION IN LIMINE REGARDING
               MEDICAL LITERATURE AND EXPERT OPINIONS

        Defendants, for their motion in limine regarding medical literature and

expert opinions, state:

        1.    On May 10, 2019, plaintiff supplemented his discovery responses with

a significant number of medical articles and related information. See Email from

Plt.’s Counsel, attached as Exhibit A. Plaintiff’s pretrial exhibit list includes most of

these materials. See Doc. No. 204-1.

        2.    Plaintiff has indicated that he intends to use these recently

supplemented articles at trial with his expert witnesses and might use them with

Dr. Garry Stewart. See Ex. A.

        3.    This is improper because this material was not disclosed in accordance

with the Court’s scheduling order or with Federal Rule of Civil Procedure 26(a)(2).

Allowing plaintiff to do so would subject defendants to substantial unfair prejudice.

Fed. R. Evid. 403; see also Marmo v. Tyson Fresh Meats, Inc., 457 F.3d 748, 759 (8th

Cir. 2006) (quoting Fed. R. Civ. P. 1); Trost v. Trek Bicycle Corp., 162 F.3d 1004,




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1008 (8th Cir. 1998); Sylla-Sawdon v. Uniroyal Goodrich Tire Co., 47 F.3d 277, 284

(8th Cir. 1995);

        4.   Defendants rely on the following in support of their motion:

             •      Exhibit A – May 10, 2019 Email from Plaintiff’s Counsel;

             •      Exhibit B – Excerpts from Dr. Stewart’s May 10, 2018

                    deposition; and

             •      A brief in support.

        WHEREFORE, defendants pray that their motion in limine be granted and

for all other relief to which they are entitled.

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